                       Case 4:12-cr-00275-DPM                       Document 250           Filed 11/25/14        Page 1 of 6
A0245B         (Rev. 09/ll)Judgmcnt in a Criminal Case
                                                                                                                           FILED
                                                                                                                       U.S. DISTRICT COURT
                                                                                                                   EASTERN DISTRICT ARKANSAS
               Sheet I

                                                                                  Nov 2 4 2014
                                           UNITED STATES DISTRICT COURT.JAMEs·~tMMr.t oRrJA
                                                                                "f~ l .~CK, CLERK
                                                         Eastern District of Arkansas                         By: __...,:=-'------'---·.:. :. :___ _ _ __
                                                                                                                                              DEPCLERK
                                                                            )
               UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                       )
                         Stephen Dobbins                                    )
                                                                            )      Case Number: 4:12-cr-275-DPM-6
                                                                            )       USM Number: 27293-009
                                                                            )
                                                                            )       Omar F. Greene II
                                                                                   - --------- ----------
                                                                                   Defendant's Attorney
THE DEFENDANT:
iii(pleaded guilty to count(s)          one of the superseding indictment.

0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
21 U.S.C. §§ 841 (a)(1),            Conspiracy to Possess with Intent to Distribute

 (b)(1 )(A), & § 846                Methamphetamine, a Class A Felony                                        10/11/2012                   1



       The defendant is sentenced as provided in pages 2 through            _ ._6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
0 The defendant has been found not guilty on count(s)
!iifcount(s)     two                                      'ii/ is    0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             11/20/2014
                                                                            Date orimposition of Judgment



                                                                            Signatu~~·-------------

                                                                            D.P. Marshall Jr.                           U.S. District Judge
                                                                            Name and Title of Judge



                                                                            Date
                      Case 4:12-cr-00275-DPM               Document 250            Filed 11/25/14        Page 2 of 6
AO 2458    (Rev. 09/11) Judgment in Criminal Case
           Sheet 2 - Imprisonment
                                                                                                                   2_ of
                                                                                                 Judgment - Page _ _       _ _6_ _
 DEFENDANT: Stephen Dobbins
 CASE NUMBER: 4:12-cr-275-DPM-6

                                                         IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 ninety-six months.




    ilf' The court makes the folJowing recommendations to the Bureau of Prisons:
 The Court recommends that Dobbins participate in residential drug-abuse program (RDAP), mental health counseling, and
 educational and vocational training. The Court further recommends designation to FCI Texarkana or the available facility
 closest to central Arkansas to facilitate visits with family.

    ~ The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                              D p.m.       on

          D as notified by the United States Marshal.
    O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By -----D-EPUTY UNITED STATES MARSHAL
                        Case 4:12-cr-00275-DPM                  Document 250            Filed 11/25/14           Page 3 of 6
AO 2458       (Rev. 09/ll)Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page   _ _c._3_ of         6
DEFENDANT: Stephen Dobbins
CASE NUMBER: 4:12-cr-275-DPM-6
                                                         SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a tenn of:
 five years.


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defe!Jdant shall submit to one drug test within I 5 days of release from imprisonment ana at least two periodic drug tests
thereafter, as detennmed by the court.
0        The above drug testing condition is suspended. based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicahfe.J
         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check. ifapplicablt!.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable.)

0        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as direc~ed by the probation offi~er, the Burea\} of Prisons, or any state sex offender registration agency in which he or she resides,
         works, 1s a student, or was convicted of a qualtfymg offense. (Check. ifapplicable.)

0        The defendant shall participate in an approved program for domestic violence. (Check. ifapplicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant sh al I support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant sha11 notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered;
    9)    the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observei:I in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy~two hours of being arrested or questioned by a Jaw enforcement officer;
 12)      the d~f~ndant shaJl not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm1ss1on of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or P-ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                   Case 4:12-cr-00275-DPM            Document 250        Filed 11/25/14        Page 4 of 6
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                          Judgment-Page   4     of - -6- -
DEFENDANT: Stephen Dobbins
CASE NUMBER: 4:12-cr-275-DPM-6

                                        SPECIAL CONDITIONS OF SUPERVISION
 S1) Dobbins shall participate, under the guidance and supeivision of the probation office, in a substance abuse treatment
 program, which will include regular and random drug testing, and may include outpatient counseling, residential treatment,
 or both. Dobbins shall abstain from the use of alcohol throughout the course of treatment.

 $2) Dobbins shall participate in mental health counseling under the guidance and supervision of the probation office.
                         Case 4:12-cr-00275-DPM                         Document 250            Filed 11/25/14            Page 5 of 6
AO 24SB       (Rev. 09/11) Judgment in a Criminal Case
              Sheet S - Criminal Monetary Penalties
                                                                                                             Judgment -   Page ___5_    of   6
DEFENDANT: Stephen Dobbins
CASE NUMBER: 4:12-cr-275-DPM-6
                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                                    Restitution
TOTALS                $ 100.00                                              $                                     $


 D The detennination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such detennination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless s~cified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                                  Total Loss"'          Restitution Ordered Priority or Percentags




 TOTALS                                                                             $- - - - - - - -0.00
                                                                                                     --

 D    Restitution amount ordered pursuant to plea agreement $
                                                                                --~--------


 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

          D    the interest requirement is waived for the           D    fine   D    restitution.

       D      the interest requirement for the           D   fine       D   restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters l 09A, 110, I l OA, and l I3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, J996.
                      Case 4:12-cr-00275-DPM                     Document 250               Filed 11/25/14             Page 6 of 6
AO 2458    (Rev. 09/l 1) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page -~6- of                   6
DEFENDANT: Stephen Dobbins
CASE NUMBER: 4:12·cr-275-DPM-6

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

A    r;/ Lwnp sum payment of$ _1O_O_._o_o____ due immediately, balance due
                 not later than                                      , or
                                                                                r;;/ F below; or
                                   ~~---~---~

                 in accordance            0 C,         DD.      D      E,or

B    D     Payment to begin immediately (may be combined with                 DC,         DD, or        D F below): or

C     D    Payment in equal                          (e.g.. weeklv. mo11thly. quarter!;~ installments of $                             over a period of
                           (e.g.. months or years), to commence                         (e.g.. 30 or 60 days) after the date of this judgment; or

 D    O Payment in equal                             (e.g.. week(v. monthly, quarter{1~ installments of $                          over a period of
                           (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     O Payment during the term of supervised release will commence within                    (e.g.• 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    rr/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, Dobbins shall pay 50 percent per month of all funds available to him until the $100.00 special
            assessment ls paid in full.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary pt!nalties, except those payments made through fhe Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0   Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (includingdefendanl number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 D   The defendant shall pay the cost of prosecution.

O    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, {3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
